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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

NAVIENT SOLUTIONS,LLC

        Plaintiff,

V.                                                     l:19-cv-461(LMB/TCB)

DAVID MIZE,etal..

        Defendants.

                                              ORDER


       The Clerk having entered a default against defendant Champion Marketing Solutions,

LLC on August 20,2019, it is hereby

        ORDERED that plaintifffile a motion for defaultjudgment and an accompanying

memorandum setting forth the factual and legal support for findings that(a)this court has subject

matter and personal jurisdiction, including how the defaulting defendant was served and why that

service was proper;(b)the complaint alleges facts establishing all the necessary elements ofone

or more claims on which reliefcan be granted; and (c)plaintiff can receive the damages and any

other relief sought, with specific references to affidavits, declarations, or other evidence

supporting such relief, and it is further

       ORDERED that plaintiff file a Notice setting the hearing ofthe motion for default

judgment for 10:00 a.m. on Friday, September 20,2019, before the magistrate judge to whom

this action is referred, or in event ofa conflict, then on the date obtained from the chambers of

the magistrate judge, and mail copies ofthe notice, motion, and memorandum to the defaulting

defendant at their last known address, certifying the same to the court.

       The Clerk is directed to forward a copy ofthis Order to counsel of record, who is directed

to forward a copy ofthis Order to the defaulting defendant.

       Entered this j^^av of August,2019.
                                                                             /s^
                                                             Leonie M.Brinkema
Alexandria, Virginia                                         United States District Judge      '
